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 EXHIBIT NO. 37
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   February 28, 2017


   Via Email Only
   Felice Duffy
   Duffy Law, LLC
   700 Chapel Street, Suite 4F
   New Haven, CT 06510

   Re:                      Title IX Investigation

   Dear Attorney Duffy:

   I write in response to your email of February 27, 2017 and to advise you that your client’s Title
   IX hearing will still be going forward on March 3, 2017.

   NCO/Breach of Confidentiality: In regards to your concerns of alleged violations of the NCO
   and breach of confidentiality, those issues are currently being addressed by Karoline Keith from
   the Department of Public Safety.

   Formal Complaint: In regards to your statement that your client now desires to make a formal
   complaint against                        and               , we will consider your email of
   February 27, 2017, a formal complaint and will proceed in compliance with Quinnipiac
   University’s Title IX policy. To that end, please forward any additional information that you
   have not previously provided and would like considered.

   Hearing: The procedure will be as Seann Kalagher previously laid out for you during your
   discussion last week. As stated above, the Hearing will still be going forward on March 3, 2017.

   Sincerely,


   Terri Johnson




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